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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 ENVIRONMENTAL DEFENSE FUND;
 MONTANA ENVIRONMENTAL
 INFORMATION CENTER; and CITIZENS
 FOR CLEAN ENERGY,

                        Plaintiffs,             Case No. 4:21-cv-00003-BMM

       v.

 U.S. ENVIRONMENTAL PROTECTION                  The Honorable Brian Morris,
 AGENCY; and ANDREW R. WHEELER, in              Chief Judge
 his official capacity as Administrator of
 the U.S. Environmental Protection
 Agency,

                        Defendants.



                                  INTRODUCTION

      Defendants seek vacatur and remand of the final rulemaking entitled

“Strengthening Transparency in Pivotal Science Underlying Significant Regulatory

Actions and Influential Scientific Information,” 86 Fed. Reg. 469-01 (Jan. 6, 2021)

(“Final Rule”). Defendants explain that in light of the Court’s conclusion that the

Final Rule constitutes a substantive rule, the Environmental Protection Agency lacked

authorization to promulgate the rule pursuant to its housekeeping authority, which is

the only source of authority identified in the Final Rule. Accordingly, Defendants
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state that vacatur and remand of the Final Rule is appropriate under the

circumstances. Plaintiffs do not oppose this request.

                                      ORDER

      Accordingly, IT IS SO ORDERED that:

           Defendants’ Unopposed Motion for Vacatur and Remand is

             GRANTED.

           The Final Rule is hereby vacated and remanded to the Environmental

             Protection Agency.


             Dated the 1st of February, 2021.




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